                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                  1:20-cv-255-MOC

 BOBBY KIRKPATRICK,                             )
                                                )
                       Plaintiff,               )
                                                )
 v.                                             )
                                                                        ORDER
                                                )
 KILOLO KIJAKAZI,                               )
 Acting Commissioner of                         )
 Social Security,                               )
                                                )
                       Defendant.               )


       THIS MATTER is before the Court on its own motion in light of Plaintiff’s Response to

Defendant’s Motion for Summary Judgment, in which Plaintiff requests to be allowed to submit

briefing on the merits of the constitutionality of the Commissioner’s decision. (Doc. No. 26).

Defendant submits in response that Plaintiff should not be allowed to submit further briefing.

       In an abundance of caution, the Court will allow Plaintiff to brief the merits of the

constitutionality of the Commissioner’s decision. Plaintiff shall submit his brief within 20 days.

Defendant will then have 10 days to respond.

       IT IS SO ORDERED.




                                      Signed: December 3, 2021




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